Case 1:09-cv-22988-WJZ Document1 Entered on FLSD Docket 10/05/2009 Page 1 of 14

 

FILED by@uttic pc!

INTAKE

UNITED STATES DISTRICT COURT OCT 95 2009
SOUTHERN DISTRICT OF FLORIDA

STEVEN M. LARIMORE |
CLERK U.S. DIST.CT.
qv S:2..OF FLA MIAME |

CASE NO

 

STEVEN GOMEZ, 44
Plaintiff, f) Q- 2, 2 9 Bo

VS.

ANDY LOZANO and CY . JORD AN

RAYMOND CHAMBERS,
Defendants. MCALILEY
/
COMPLAINT
The Plaintiff, STEVEN GOMEZ, by and through the undersigned attorney sues the
‘Defendants, RAYMOND CHAMBERS and ANDY LOZANO, and alleges as follows:
I. That this is an action for damages in excess of $100,000.00 which exceeds
the jurisdictional limits of this court.
2. That at all times material hereto the Plaintiff, STEVEN GOMEZ, was a
resident of Miami-Dade County, Florida.
3. That at all times material hereto ANDY LOZANO was a resident of Miami
Dade County, Florida and was a Miami Beach police officer employed by
the City of Miami Beach, Florida.
4, That at all times material hereto RAYMOND CHAMBERS was a resident of
Miami Dade County, Florida and was a Miami Beach police officer
employed by the City of Miami Beach, Florida.

JURISDICTION & VENUE

 

JOHN B. OSTROW, P.A., 44 WEST FLAGLER STREET, SUITE !250° MIAMI, FLORIDA 33130
Case 1:09-cv-22988-WJZ Document1 Entered on FLSD Docket 10/05/2009 Page 2 of 14

GOMEZ vs. LOZANO, et. al.
Page 2 of 13

5. This is an action brought pursuant to 42 U.S.C. §1983, the Fourth and
Fourteenth Amendments to the United States Constitution, and the laws
of the State of Florida.

6. This Court has jurisdiction over this action pursuant to 28 U.S.C. §1331
and 28 U.S.C. §1367

7. Venue is proper in this Court pursuant to 28 U.S.C. §1391, in that all
Defendants, upon information and belief, are residents of this District and
all the acts or omissions which give rise to this cause of action occurred
within this District.

STATEMENT OF FACTS

8. On March 8, 2009, Plaintiff, STEVEN GOMEZ, was walking on the beach, at
or near the 8 street entrance to Miami Beach in the City of Miami Beach,
Florida. While walking on the beach, STEVEN GOMEZ was approached
and detained by RAYMOND CHAMBERS, an officer employed by the City
of Miami Beach, Florida.

9. ANDY LOZANO approached the scene just after Officer RAYMOND
CHAMBERS commanded and forced STEVEN GOMEZ to the ground.
ANDY LOZANO then proceeded to assist officer RAYMOND CHAMBERS
in his efforts to detain STEVEN GOMEZ.

10. ANDY LOZANO subsequently applied excessive and unnecessary force
against STEVEN GOMEZ, without provocation.

11. While STEVEN GOMEZ lay face down on the ground, Officer ANDY

LOZANO used excessive force by sitting on STEVEN GOMEZ’s head,

JOHN B. OSTROW, P.A., 44 WEST FLAGLER STREET, SUITE 1250 MIAMI, FLORIDA 33130
Case 1:09-cv-22988-WJZ Document1 Entered on FLSD Docket 10/05/2009 Page 3 of 14

GOMEZ vs. LOZANO, et. al.
Page 3 of 13

forcing his face into the sand.

12. Without provocation, ANDY LOZANO continued to use excessive force by
punching STEVEN GOMEZ in the eye, ribs and mouth, resulting in a
fractured eye socket, loss of teeth and other serious injuries.

13. Following the beating of STEVEN GOMEZ, ANDY LOZANO placed
STEVEN GOMEZ under arrest. STEVEN GOMEZ was then transported to
Jackson Memorial Hospital in Miami, Florida due to his extensive injuries.

14. At all times relevant hereto and at the time of the March 8, 2009 incident
complained of, ANDY LOZANO, was acting outside the reasonable course
and scope of his employment with the City of Miami Beach, Florida, where
ANDY LOZANO’s wrongful conduct and actions were in wanton and
willful disregard of STEVEN GOMEZ’s human and civil rights, and
property.

COUNT I
CIVIL RIGHTS VIOLATIONS PURSUANT TO 42 U.S.C. §1983, FOR UNLAWFUL

SEIZURE, FALSE ARREST AND IMPRISONMENT, AGAINST DEFENDANT
LOZANO, INDIVIDUALLY

 

The Plaintiff reaffirms and realleges each and every allegation contained in

paragraphs one (1) through fourteen (14) as if fully set forth herein.

15. That Defendant, ANDY LOZANO, was acting under the color of law as a
police officer for the Miami Beach Police Department, when he unlawfully
seized Plaintiff, STEVEN GOMEZ, while Plaintiff was walking down Miami
Beach.

16. That from the time Defendant, ANDY LOZANO approached STEVEN

GOMEZ on the beach, to the time he released STEVEN GOMEZ from jail,

JOHN B. OSTROW, P.A., 44 WEST FLAGLER STREET, SUITE 1250° MIAMI, FLORIDA 33130
Case 1:09-cv-22988-WJZ Document1 Entered on FLSD Docket 10/05/2009 Page 4 of 14

GOMEZ vs. LOZANO, et. al.
Page 4 of 13

ANDY LOZANO forcefully and unlawfully restrained Plaintiff against his
will and under the threat of force.

17. That Defendant, ANDY LOZANO, without probable cause or adequate
provocation, physically restrained, handcuffed, transported, and placed
Plaintiff, STEVEN GOMEZ, in detention, constituting an unlawful seizure.

18. That Defendant, ANDY LOZANO did not arrest Plaintiff on the basis of
reasonably trustworthy information that would cause a prudent person to
believe, under the circumstances, that Plaintiff had committed an offense.

19. That Defendant, ANDY LOZANO could not have reasonably believed that
probable cause existed in light of the information he possessed.

20. That all of the charges Defendant, ANDY LOZANO brought against
Plaintiff were subsequently dropped.

21. That the conduct of Defendant, ANDY LOZANO, violated Plaintiff,
STEVEN GOMEZ’S clearly established right to be free from unreasonable
seizure of his person, as guaranteed by the Fourth and Fourteenth
Amendment.

22. That the Plaintiff, STEVEN GOMEZ is thereby entitled to damages under
the United States Constitution, 42 U.S.C. Sections 1983.

23. That as a result thereof the Plaintiff, STEVEN GOMEZ, suffered bodily
injury and resulting pain and suffering, disability, a total disability,
disfigurement, mental anguish, loss of capacity for the enjoyment of life,
expense of hospitalization, medical and nursing care and treatment, loss

of earnings, and loss of ability to earn money and attorneys fees. The

JOHN B. OSTROW, P.A., 44 WEST FLAGLER STREET, SUITE [250° MIAMI, FLORIDA 33130
Case 1:09-cv-22988-WJZ Document1 Entered on FLSD Docket 10/05/2009 Page 5 of 14

GOMEZ vs. LOZANO, et. al.
Page 5 of 13

losses are either permanent or continuing in nature and Plaintiffs will
suffer the losses in the future
WHEREFORE, Plaintiffs demand judgment for damages, attorney’s fees and costs
against the Defendant, ANDY LOZANO, and a trial by jury of all issues triable as a right
by ajury.
COUNT II

STATE TORT OF UNLAWFUL SEIZURE FALSE ARREST AND IMPRISONMENT
AGAINST DEFENDANT, LOZANO

 

The Plaintiff reaffirms and realleges each and every allegation contained in

paragraphs one (1) through fourteen (14) as if fully set forth herein.

24. That all times material hereto, Defendant, ANDY LOZANO was acting
within the course and scope of his employment

25. That at said time and place the Defendant, ANDY LOZANO intentionally
detained and confined Plaintiff, STEVEN GOMEZ, by handcuffing him,
placing him under arrest and sending him to jail.

26. That Defendant, without probable cause or a valid arrest warrant,
unlawfully and unreasonably deprived Plaintiff of his liberty and freedom
of movement.

27. That Plaintiff, STEVEN GOMEZ was aware of the detention and
confinement, and did not consent to it.

28. That all charges against Plaintiff were dismissed in his favor.

29. That Defendant, ANDY LOZANO was acting in bad faith, with malicious
purpose and with wanton or willful disregard for human rights or safety.

30. That, as a direct and proximate cause of Defendant, ANDY LOZANO’s

JOHN B. OSTROW, P.A., 44 WEST FLAGLER STREET, SUITE 1250 MIAMI, FLORIDA 33130
Case 1:09-cv-22988-WJZ Document1 Entered on FLSD Docket 10/05/2009 Page 6 of 14

GOMEZ vs. LOZANO, et. al.
Page 6 of 13

unlawful actions, Plaintiff STEVEN GOMEZ was injured in his Fourth,
Fifth and Fourteenth Amendment rights to be free from false arrest.

31. That as a result thereof the Plaintiff, STEVEN GOMEZ, suffered bodily
injury and resulting pain and suffering, disability, a total disability,
disfigurement, mental anguish, loss of capacity for the enjoyment of life,
expense of hospitalization, medical and nursing care and treatment, loss
of earnings, and loss of ability to earn money and attorneys fees. The
losses are either permanent or continuing in nature and Plaintiffs will
suffer the losses in the future

WHEREFORE, Plaintiffs demand judgment for damages, attorney’s fees and costs

against the Defendant, ANDY LOZANO, and a trial by jury of all issues triable as a right
by ajury.
COUNT III
CIVIL RIGHTS VIOLATIONS PURSUANT TO 42 U.S.C. §1983, FOR UNLAWFUL
SEIZURE, AGAINST DEFENDANT CHAMBERS, INDIVIDUALLY

The Plaintiff reaffirms and realleges each and every allegation contained in

paragraphs one (1) through fourteen (14) as if fully set forth herein.

32. That at said time and place the Defendant, RAYMOND CHAMBERS, was
acting under the color of law as a police officer for the Miami Beach Police
Department.

33. That Defendant, RAYMOND CHAMBERS, unlawfully and without
probable cause seized and detained Plaintiff, STEVEN GOMEZ, while

Plaintiff was walking down Miami Beach.

34. That the conduct of Defendant, RAYMOND CHAMBERS, violated Plaintiff,

JOHN B. OSTROW, P.A., 44 WEST FLAGLER STREET, SUITE 1250+ MIAMI, FLORIDA 33130
Case 1:09-cv-22988-WJZ Document 1 Entered on FLSD Docket 10/05/2009 Page 7 of 14

GOMEZ vs. LOZANO, et. al.
Page 7 of 13

STEVEN GOMEZ’S clearly established right to be free from unreasonable
seizure of his person, as guaranteed by the Fourth and Fourteenth
Amendment

35. That the Plaintiff, STEVEN GOMEZ is thereby entitled to damages under
the United States Constitution, 42 U.S.C. Sections 1983.

36. That as a result thereof the Plaintiff, STEVEN GOMEZ, suffered bodily
injury and resulting pain and suffering, disability, a total disability,
disfigurement, mental anguish, loss of capacity for the enjoyment of life,
expense of hospitalization, medical and nursing care and treatment, loss
of earnings, and loss of ability to earn money. The losses are either
permanent or continuing in nature and Plaintiffs will suffer the losses in
the future

WHEREFORE, Plaintiffs demand judgment for damages, attorney’s fees and costs

against the Defendant, RAYMOND CHAMBERS, and a trial by jury of all issues triable as
a right by ajury.
COUNT IV
CIVIL RIGHTS VIOLATIONS PURSUANT TO 42 U.S.C. §1983, FOR EXCESSIVE
FORCE, AGAINST DEFENDANT LOZANO, INDIVIDUALLY

The Plaintiff reaffirms and realleges each and every allegation contained in

paragraphs one (1) through fourteen (14) as if fully set forth herein.

37. That Defendant, ANDY LOZANO, while acting under the color of law as a
police officer for the Miami Beach Police Department, detained Plaintiff,

STEVEN GOMEZ, through use of excessive force.

38. That without legal cause or provocation, Defendant, ANDY LOZANO,

JOHN B. OSTROW, P.A., 44 WEST FLAGLER STREET, SUITE 1250° MIAMi, FLORIDA 33130
Case 1:09-cv-22988-WJZ Document1 Entered on FLSD Docket 10/05/2009 Page 8 of 14

GOMEZ vs. LOZANO, et. al.
Page 8 of 13

forcefully sat on Plaintiff's head, and punched him in the mouth, eye and
ribs.

39. That Plaintiff did not pose a threat to the safety of the officers or others.

40. That Plaintiff was not attempting to evade arrest by flight.

41, That Defendant, ANDY LOZANO’s use of force was not objectively
reasonable

42. That Defendant, ANDY LOZANO, applied force that was
disproportionate to the force necessary to detain and arrest Plaintiff,
causing Plaintiff to experience great pain and resulting in serious injury.

43. That Defendant, ANDY LOZANO, violated Plaintiff's clearly established
constitutional rights under the Fourth Amendment to be free from
excessive force.

44. That the Plaintiff, STEVEN GOMEZ is thereby entitled to damages under
the United States Constitution, 42 U.S.C. Sections 1983 .

45. That as a result thereof the Plaintiff, STEVEN GOMEZ, suffered bodily
injury and resulting pain and suffering, disability, a total disability,
disfigurement, mental anguish, loss of capacity for the enjoyment of life,
expense of hospitalization, medical and nursing care and treatment, loss
of earnings, and loss of ability to earn money. The losses are either
permanent or continuing in nature and Plaintiffs will suffer the losses in
the future

WHEREFORE, Plaintiffs demand judgment for damages, attorney's fees and costs

against the Defendant, ANDY LOZANO, and a trial by jury of all issues triable as a right

JOHN B. OSTROW, P.A., 44 WEST FLAGLER STREET, SUITE 1250° MIAMI, FLORIDA 33130
Case 1:09-cv-22988-WJZ Document1 Entered on FLSD Docket 10/05/2009 Page 9 of 14

GOMEZ vs. LOZANO, et. al.
Page 9 of 13

by ajury

COUNT VI
STATE TORT BATTERY CLAIM AGAINST DEFENDANT, LOZANO

 

The Plaintiff reaffirms and realleges each and every allegation contained in

paragraphs one (1) through fourteen (14) as if fully set forth herein.

46. That Defendant, ANDY LOZANO, was at all times herein acting under
color of state law as a police officer.

47. That Defendant, ANDY LOZANO, intentionally battered, touched and
beat Plaintiff, STEVEN GOMEZ, by forcefully sitting on his head, and
punching him in the mouth, eye and ribs.

48. That Defendant, ANDY LOZANO, intended to forcefully punch Plaintiff,
STEVEN GOMEZ, and further intended to cause Plaintiff fear,
apprehension, and intimidation.

49, That Plaintiff, STEVEN GOMEZ, did not consent to the offensive contacts.

50. That as a result of such contacts, Plaintiff, STEVEN GOMEZ feared for his
personal safety.

51. That Plaintiff committed no crime justifying the use of such force and that
Defendant, ANDY LOZANO, independently should’ve known this.

52. That the actions of ANDY LOZANO were undertaken with reckless
disregard for the rights of Plaintiff, STEVEN GOMEZ.

53. That as a result thereof the Plaintiff, STEVEN GOMEZ, suffered bodily
injury and resulting pain and suffering, disability, a total disability,
disfigurement, mental anguish, loss of capacity for the enjoyment of life,

expense of hospitalization, medical and nursing care and treatment, loss

JOHN B. OSTROW, P.A., 44 WEST FLAGLER STREET, SUITE 1250 - MIAMI, FLORIDA 33130
Case 1:09-cv-22988-WJZ Document 1 Entered on FLSD Docket 10/05/2009 Page 10 of 14

GOMEZ vs. LOZANO, et. al.
Page 10 of 13

of earnings, and loss of ability to earn money. The losses are either
permanent or continuing in nature and Plaintiffs will suffer the losses in
the future
WHEREFORE, Plaintiffs demand judgment for damages, attorney's fees and costs
against the Defendant, ANDY LOZANO, and a trial by jury of all issues triable as a right
by ajury.

COUNT VII
STATE TORT ASSAULT CLAIM AGAINST DEFENDANT, LOZANO

The Plaintiff reaffirms and realleges each and every allegation contained in

paragraphs one (1) through fourteen (14) as if fully set forth herein.

54. That Defendant, ANDY LOZANO, was acting under the color of law as a
police officer for the Miami Beach Police Department, when he unlawfully
seized Plaintiff, STEVEN GOMEZ, while Plaintiff was walking down Miami
Beach.

55. That Defendant, ANDY LOZANO, assaulted Plaintiff, STEVEN GOMEZ,
by intentionally placing plaintiff in apprehension of immediate battery.

56. That Defendant approached Plaintiff while Plaintiff was detained by other
officers and repeatedly committed overt acts of threat and force by raising
his fist several times in an attempt to strike Plaintiff in the ribs and face.

57. That Defendant, ANDY LOZANO, intended to incite fear in Plaintiff,
STEVEN GOMEZ, and further intended to cause Plaintiff both
apprehension, and intimidation.

58. That Plaintiff, STEVEN GOMEZ, did not consent to the overt acts of threat

and intimidation by Defendant.

JOHN B. OSTROW, P.A., 44 WEST FLAGLER STREET, SUITE 1250° MIAMI, FLORIDA 33130
Case 1:09-cv-22988-WJZ Document 1 Entered on FLSD Docket 10/05/2009 Page 11 of 14

GOMEZ vs. LOZANO, et. al.
Page 11 of 13

59. That as a result of such contacts, Plaintiff, STEVEN GOMEZ feared for his
personal safety.

60. That Plaintiff committed no crime justifying the use of such force and that
the Defendant should’ve known this.

61. That the actions of Defendant, ANDY LOZANO, were undertaken with
reckless disregard for the rights of Plaintiff.

62. That as a result thereof the Plaintiff, STEVEN GOMEZ, suffered bodily
injury and resulting pain and suffering, disability, a total disability,
disfigurement, mental anguish, loss of capacity for the enjoyment of life,
expense of hospitalization, medical and nursing care and treatment, loss
of earnings, and loss of ability to earn money. The losses are either
permanent or continuing in nature and Plaintiffs will suffer the losses in
the future

WHEREFORE, Plaintiffs demand judgment for damages, attorney’s fees and costs

against the Defendant, ANDY LOZANO, and a trial by jury of all issues triable as a right
by a jury.
COUNT VIII
CIVIL RIGHTS VIOLATIONS PURSUANT TO 42 U.S.C. §1983, FOR FAILURE TO

INTERVENE, AGAINST DEFENDANT CHAMBERS, INDIVIDUALLY

The Plaintiff reaffirms and realleges each and every allegation contained in

paragraphs one (1) through fourteen (14) as if fully set forth herein.

63. That at said time and place, Defendant, RAYMOND CHAMBERS,
witnessed the detention and arrest of Plaintiff, and took no action to

prevent the arrest. Instead, Defendant RAYMOND CHAMBERS turned

JOHN B. OSTROW, P.A., 44 WEST FLAGLER STREET, SUITE 1250: MIAMI, FLORIDA 33130
Case 1:09-cv-22988-WJZ Document 1 Entered on FLSD Docket 10/05/2009 Page 12 of 14

GOMEZ vs. LOZANO, et. al.
Page 12 of 13

his back to the Plaintiff and faced the surrounding crowd while Plaintiff
was being forcefully detained, beaten and arrested in violation of
Plaintiff's constitutionally guaranteed rights.

64. That Defendant, RAYMOND CHAMBERS failed to take adequate
measures to prevent the unlawful arrest of Plaintiff, which occurred in his
presence.

65. That Defendant RAYMOND CHAMBERS had a clearly established duty
to intervene and to take reasonable steps to protect Plaintiff from
Defendant, ANDY LOZANO.

66. That Defendant RAYMOND CHAMBERS had the opportunity to
intervene.

67. That Defendant RAYMOND CHAMBERS failed to object verbally to
Defendant, ANDY LOZANO’s treatment of Plaintiff, and ignored
Plaintiff's cries for help.

68. That Defendant, RAYMOND CHAMBERS’s failure and refusal to
intervene was a violation of Plaintiff's clearly established constitutionally
rights under the Fourth Amendment

69. That as a result thereof the Plaintiff, STEVEN GOMEZ, suffered bodily
injury and resulting pain and suffering, disability, a total disability,
disfigurement, mental anguish, loss of capacity for the enjoyment of life,
expense of hospitalization, medical and nursing care and treatment, loss
of earnings, and loss of ability to earn money. The losses are either

permanent or continuing in nature and Plaintiffs will suffer the losses in

JOHN B. OSTROW, P.A., 44 WEST FLAGLER STREET, SUITE 1250: MIAMI, FLORIDA 33130
Case 1:09-cv-22988-WJZ Document 1 Entered on FLSD Docket 10/05/2009 Page 13 of 14

GOMEZ vs. LOZANO, et. al.
' Page 13 of 13

the future
WHEREFORE, Plaintiffs demand judgment for damages, attorney’s fees and costs
against the Defendant, RAYMOND CHAMBERS, and a trial by jury of all issues triable as
a right by a jury.

DATED this 5 day of October, 2009.

JOHN B. OSTROW, PA
Counsel for Plaintiff
Courthouse Tower, Suite 1250
44 West Fiagler Street

Miami, Florida 33130
Telephone. (305) 358-1496
Facsimile: (305) 371-7999

Adel atare.
NB-OSTROW ~~”

“ JOHN Bar Number: 124324
ZPHEN A. OSTROW

Florida Bar Number: 182338
MORGAN P. OSTROW

Florida Bar Number: Pending

 

 

 

 

JOHN B. OSTROW, P.A., 44 WEST FLAGLER STREET, SUITE 1250 MIAMI, FLORIDA 33130
Case 1:09-cv-22988-WJZ Document 1 Entered on FLSD Docket 10/05/2009 Page 14 of 14

@JS 44 (Rev. 2/08)

CIVIL COVER SHEET

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as provided
by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the purpose of initiating

 

the civil docket sheet, (SEE INSTRUCTIONS ON THE REVERSE OF THE FORM.) NOTICE: Attorneys MUST Indicate All Re-filed Cases Below.
I. (a) PLAINTIFFS Gh DEPENDANTS
STEVEN GOMEZ Q 9 - 2 2 9 3 M4FANDY LOZANO and RAYMOND CHAMBERS

(b) County of Residence of First Listed Plaintiff DADE
(EXCEPT IN U.S. PLAINTIFF CASES)

County of Residence of First Listed Defendant DADE

(IN U.S. PLAIN T{FF CASES ONTPY
HALED, ve oe bi feed TRACT

 

 

NOTE: IN LAND CONDEMNATION

LAND INVOLVED.

(c) Attorney’s (Firm Name, Address, and Telephone Number)

JOHN B. OSTROW, ESQ., JOHN B. OSTROW, PA, COURTHOUSE

 

TOWER, 44 WEST FLAGLER STREET, SUITE 1250, MIAMI,

FLORIDA 33130 (305) 358-1496

 

Attorneys (If Known)

UCT 05 2008

STEVEN M. LARIMORE

 

CLV -JGHD ANDO”: foALILEY

CLERK U.S. DIST. CT.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

(4) Check County Where Action Arose: YI MIAMI-DADE 3 MONROE J BROWARD J PALMBEACH J MARTIN 3) ST. LUC Iiemade. : )BEE
HIGHLANDS.
Il. BASIS OF JURISDICTION  (Piace an “x” in One Box Only) WW. CITIZENSHIP OF PRINCIPAL PARTIES Place an “x” in One Box for Plaintiff
(For Diversity Cases Only) and One Box for Defendant)
O 1 U.S. Government ¥3 3. Federal Question PTF DEF PTF DEF
Plaintiff (U.S. Government Not a Party) Citizen of This State 3 1 71 Incorporated or Principal Place oa 4 a4
of Business In This State
G02 U.S. Government 0 4 ~~ Diversity Citizen of Another State a 2 O 2 Incorporated end Principal Place Oo 5 a 5
Busi
Defendant (indicate Citizenship of Parties in Item II) of Business In Another State
b9 } 44 I, - ve VOp p J i { M4 ley Citizen or Subject of a a 3 G 3 Foreign Nation a 6 o 6
( v C 0 : C } T Foreign Country
IV. NATURE OF SUIT (Place an “X" in bne Box Only) /
CONTRACT TORTS FORFEITURE/PENALTY BANKRUPTCY OTHER STATUTES |
0 110 Insurance PERSONAL INJURY PERSONAL INJURY |9 610 Agriculture O 422 Appeal 28 USC 158 O 400 State Reapportionment
© 120 Marine GC 310 Airplane QO =. 362 Personal Injury - GO 620 Other Food & Drug O 423 Withdrawal G 410 Antitrust
O 130 Miller Act © 315 Airplane Product Med. Malpractice GO 625 Drug Related Seizure 28 USC 157 O 430 Banks and Banking
G 140 Negotiable Instrument Liability 1 365 Personal Injury - of Property 21 USC 881 3 450 Commerce
G 150 Recovery of Overpayment [0 320 Assault, Libel & Product Liability 0 630 Liquor Laws PROPERTY RIGHTS 460 Deportation
& Enforcement of Judgment Slander J 368 Asbestos Personal | 640 R.R. & Truck OD 820 Copyrights 470 Racketeer Influenced and
J 151 Medicare Act 1 330 Federal Employers’ Injury Product J 650 Airline Regs. O 830 Patent Corrupt Organizations
3 152 Recovery of Defaulted Liability Liability 1 660 Occupational J 840 Trademark GO 480 Consumer Credit
Student Loans J 340 Marine PERSONAL PROPERTY Safety/Health O 490 Cable/Sat TV
(Excl. Veterans) J 345 Marine Product J 370 Other Fraud J 690 Other 3 810 Selective Service
© 153 Recovery of Overpayment Liability 3 371 Truth in Lending LABOR SOCIAL SECURITY 4 850 Securities/Commodities/
of Veteran’s Benefits G 350 Motor Vehicle 3 (380 Other Personal 73 «710 Fair Labor Standards 1 86) HIA (1395ff) Exchange
1 160 Stockholders’ Suits OD 355 Motor Vehicle Property Damage Act 862 Black Lung (923) 1 875 Customer Challenge
190 Other Contract Product Liability 9 385 Property Damage J 720 Labor/Mgmt. Relations O 863 DIWC/DIWW (405(g)) 12 USC 3410
O 195 Contract Product Liability | € 360 Other Personal Product Liability 3 730 Labor/Mgmt.Reporting G 864 SSID Title XVI J 890 Other Statutory Actions
G 196 Franchise Injury & Disclosure Act O 865 RS! (405(g)) J 891 Agricultural Acts
| REAL PROPERTY CIVIL RIGHTS PRISONER PETITIONS | 740 Railway Labor Act FEDERAL TAX SUITS GO 892 Economic Stabilization Act
J 210 Land Condemnation GC 441 Voting O 510 Motions to Vacate [7 790 Other Labor Litigation O 870 Taxes (U.S. Plaintiff O 893 Environmental Matters
1 220 Foreclosure 0 442 Employment Sentence 3 791 Empl. Ret. Inc. Securit or Defendant) O 894 Energy Allocation Act
© 230 Rent Lease & Ejectment O 443 Housing/ Habeas Corpus: Act O 871 IRS Third Party o ;
GO 240 Torts to Land Accommodations O 530 General 26 USC 7609 895 Freedom of Information Act
OG 245 Tort Product Liability 0 444 Welfare QO 535 Death Penalty | IMMIGRATION G 900 Appeal of Fee Determination
© 290 All Other Real Property og 445 Amer. w/Disabilities 1] 549 Mandamus & Other] J 462 Naturalization Under Equal Access to Justice
Employment Application
446 Amer. w/Disabilities - cosy pe 463 Habeas Corpus-Alien
a Other GO 550 Civil Rights Detainee
<a pe . as 465 Other Immigration 7 «(950 Constitutionality of State
§@ 440 Other Civil Rights QO 555 Prison Condition 3 Actions a Statutes
V. ORIGIN (Place an “*X” in One Box Only) Transferred from Appeal to District
Jj 1 Original ( 2 Removed from O 3. Re-filed- O 4 Reinstatedor [ 5 another district 1 6 Multidistrict O 7 Macistrate
P din, State Court see VI below Reopene ; Litigati
roceeding ( ) pened (specify) tigation Judement

 

a) Re-filed Case 0 YES YI NO b) Related Cases O YES YNO

VI. RELATED/RE-FILED
CASE(S).

(See instructions
second page): JUDGE DOCKET NUMBER

 

 

Cite the U.S. Civil Statute under which you are filing and Write a Brief Statement of Cause (Do not cite jurisdictional statutes unless
diversity):

VII. CAUSE OF ACTION 42 U.S.C. §1983, the Fourth and Fourteenth Amendments to the United States Constitution

 

LENGTH OF TRIAL via 5 days estimated (for both sides to try entire case)

 

 

  
 

 

VII. REQUESTED IN O CHECK IF THIS IS A CLASS ACTION DEMAND $ CHECK YES only if demanded in complaint:
COMPLAINT: UNDER F.R.C.P. 23 00,000.00 JURY DEMAND: Yes © No
ABOVE INFORMATION IS TRUE & CORRECTTO ss gigi at re oF AYORNEY . DATE
THE BEST OF MY KNOWLEDGE ue Af | ” October 5, 2009
/ : ad FOR OFFICE USE ONY”

amounrf/ 2 S 2. “recewre /OIO D8?
) KO fos CSAS
